        Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                 CRIMINAL ACTION

VERSUS                                                                   NO. 22-96

GREGORY JOHNSON                                                          SECTION “L” (2)


                                      ORDER & REASONS


         Before the Court is Defendant Gregory Johnson’s Motion to Suppress relating to a firearm

found in his vehicle following his arrest. The Court conducted a suppression hearing on December

7, 2023. After a review of the briefings, oral argument, testimony, and applicable law, the Court

now rules as follows.

   I.       BACKGROUND:

         This criminal action was brought against Defendants Gregory Johnson (“Johnson”) and

Keith Bourgeois (“Bourgeois”) for violations of the Controlled Substances Act and the Federal

Gun Control Act. Bourgeois was rearraigned on May 18, 2023 where he pled guilty to two counts

in a superseding bill of information and his sentencing is set for January 18, 2024. Johnson has not

been rearraigned and has a trial date set for January 16, 2024 as to four counts in a superseding

indictment: (1) conspiracy to distribute and possess with the intent to distribute more than 500

grams of cocaine; (2) and (3) possession of firearm in furtherance of a drug crime; and (4) felon

in possession of a firearm. R. Doc. 30.

         At the time of their arrest, law enforcement had been surveilling Bourgeois’s residence on

Foucher Street in advance of executing a warrant to search the property and its vehicles and

curtilage. R. Doc. 106 at 1; R. Doc. 103-1 at 1-2. The government alleges that law enforcement


                                                 1
     Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 2 of 15




observed Johnson arrive at Bourgeois’s apartment sometime after 9:00am on April 19, 2022 and

leave shortly after, getting into his gray Mercedez Benz. R. Doc. 106 at 1. At around 10:50am, law

enforcement allegedly observed a USPS package arrive to Bourgeois’s apartment which Bourgeois

received and took inside. Id. Shortly after the package arrived, law enforcement observed Johnson

return and park “approximately 350 feet away on Amelia Street and South Sarasota Street,” which

law enforcement believes was done to evade detection because Johnson possibly noticed the police

presence. Id. at 2. Johnson allegedly entered the apartment and then shortly after, he and Bourgeois

exited with Johnson, heading in the direction of Johnson’s car, “carrying a Styrofoam cooler and

a chainsaw.” Id. Law enforcement stopped Bourgeois and Johnson “on the 2100 block of Foucher

Street” approximately 300 feet from Johnson’s car, which was parked around the corner on Amelia

Street. See id. After obtaining a search warrant for the cooler, the police found that it contained

approximately four kilograms of cocaine. Id. No warrant was obtained to search Johnson’s car.

Instead, law enforcement maintains that they seized his car concluding it was involved in drug

trafficking and when they entered the car, intending to drive it to a law enforcement location they

found within plain view a firearm in the driver’s side door panel.

   II.      PRESENT MOTION

         On November 3, 2023, Johnson filed the instant motion to suppress, alleging violations of

his Fourth Amendment rights relating to the search and seizure of his vehicle, or alternatively he

requested an evidentiary hearing. R. Doc. 103. Johnson argues that the search of his vehicle was

warrantless, as law enforcement obtained warrants to search Bourgeois’s apartment, vehicles,

curtilage, including Bourgeois’s vehicle, as well as the Styrofoam cooler, but not his Mercedes,

which he argues was parked outside of the apartment’s curtilage. Id. at 3-4. Johnson argues (1)

that the search was illegal because it was without a warrant, and (2) that the search was illegal



                                                 2
      Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 3 of 15




because law enforcement lacked probable cause and had no legal justification to seize and search

his vehicle. Id. at 3-6. He further argues that there was no evidence he was walking to his vehicle

when he was stopped and arrested, and even if he were walking to his vehicle, this fact alone does

not amount to probable cause that the vehicle contained evidence of a crime. Id.

        The government opposes the motion and argues that this was an administrative inventory

search conducted pursuant to standard regulations and procedures and thus did not violate

Johnson’s Fourth Amendment rights. R. Doc. 106 at 5. The DEA’s policy on inventory searches

states that a “complete inventory shall be made of all property that is taken into custody by DEA

for safekeeping, regardless of whether probable cause exists to search the property.” Id. at 5

(quoting DEA policy). The government maintains that law enforcement had probable cause to

believe Johnson’s vehicle was being used to facilitate the sale and transportation of controlled

substance, as they observed him driving back and forth to this apartment on the day in question

and suspected he was carrying the cooler back to his vehicle when he was stopped and arrested.

Id. at 6.

        Johnson filed a reply brief arguing that the government missed a critical step in its claim

that the search falls under the inventory search exception: “nowhere does the Government show –

or event attempt to show – that the vehicle was lawfully seized in the first place prior to any

inventory search.” R. Doc. 109 at 1. Johnson concedes that a lawful inventory search is not subject

to the warrant requirement but argues that the seizure of the vehicle was “illegal because it was

not made pursuant to a lawful arrest or search,” as “Johnson was not pulled over while driving and

arrested such that his vehicle was left abandoned on the side of the road. Rather, he was arrested

while walking down the stairs of a residence, almost a block away from his vehicle, which was

lawfully parked in a safe manner.” Id. at 3. Further, Johnson notes that the two forfeiture statutes



                                                 3
      Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 4 of 15




cited by the government, 21 U.S.C. § 853 and § 881, require a court’s action, such as a warrant,

restraining order, or injunction, or otherwise require the search to fall under a warrantless exception

like the inventory search. Id. at 2-3.

           Johnson also notes the absence of any “community caretaking function” claimed by the

government that would permit a warrantless seizure in this circumstance and characterizes the

government’s inventory search argument as a “post hoc justif[ication of] its subsequent warrantless

search” as “an attempt to shoehorn it within the limited Bertine exception.” Id. at 4. In sum,

Johnson argues that the “inescapable conclusion is that this was a search to discover incriminating

evidence, not a legitimate search following a vehicle seizure justified by a public safety or

community caretaking function.” Id. at 4-5.

    III.      APPLICABLE LAW

           A party urging a motion to suppress “has the burden of proving, by a preponderance of the

evidence, that the evidence in question was obtained in violation of [their] Fourth Amendment

rights.” United States v. Wallace, 885 F.3d 806, 809 (5th Cir. 2018) (quoting United States v.

Smith, 978 F.2d 171, 176 (5th Cir. 1992)).

              a. The Fourth Amendment

           The Fourth Amendment protects “[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures.” Herring v. U.S., 555 U.S.

135, 139 (2009) (quoting Arizona v. Evans, 514 U.S. 1, 10 (1995)). The Supreme Court’s Fourth

Amendment jurisprudence has established “an exclusionary rule that, when applicable, forbids the

use of improperly obtained evidence at trial.” Id. Warrantless searches are “per se unreasonable

unless they fall within a few narrowly defined exceptions.” U.S. v. McKinnon, 681 F.3d 203, 207

(5th Cir. 2012) (quoting United States v. Kelly, 302 F.3d 291, 293 (5th Cir. 2002)). When the



                                                   4
      Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 5 of 15




government conducts a search or seizure without a warrant or probable cause, the government

bears the burden of showing by a preponderance of the evidence that the search or seizure falls

within an exception and was constitutional. U.S. v. Roch, 5 F.3d 894, 897 (5th Cir. 1993).

       Inventory searches are one exception to the warrant requirement. Colorado v. Bertine, 479

U.S. 367, 371 (1987). “The policies behind the warrant requirement are not implicated in an

inventory search, nor is the related concept of probable cause.” Id. (citation omitted). The purpose

of inventory searches is to “protect an owner’s property while it is in the custody of the police, []

insure against claims of lost, stolen, or vandalized property, and [] guard the police from danger.”

Id. at 372 (citing South Dakota v. Opperman, 428 U.S. 364, 367 (1976)). It is a form of community

caretaking of seized property. The Supreme Court has explained that “as a part of what the Court

has called ‘community caretaking functions,’ automobiles are frequently taken into police

custody.” Opperman, 428 U.S. at 368 (citation omitted). Examples of vehicle seizures pursuant to

the community caretaking function include vehicle accidents, “to permit the uninterrupted flow of

traffic,” to remove “disabled or damaged vehicles . . . from highways or streets,” and to remove

“automobiles which violate parking ordinances and which thereby jeopardize both public safety

and the efficient movement of vehicular traffic.” Id. at 368-69.

       Once a vehicle is lawfully seized pursuant to this community care function, an inventory

search is reasonable only if it is “conducted pursuant to standardized regulations and procedures

that are consistent with (i) protecting the property of the vehicle’s owner, (ii) protecting the police

against claims or disputes over lost or stolen property, and (iii) protecting the police from danger.”

U.S. v. Hope, 102 F.3d 114, 116 (5th Cir. 1996). The Fifth Circuit will uphold an inventory search

as reasonable when it is “performed according to standard regulations and procedures consistent

with the proper purpose of a noninvestigative inventory search.” U.S. v. Privett, 68 F.3d 101, 103



                                                  5
      Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 6 of 15




(5th Cir. 1995); see also Hope, 102 F.3d at 116-17 (finding an inventory search of a vehicle

unreasonable because of the lack of evidence to support a standard procedure or department

guideline was followed); McKinnon, 681 F.3d at 210 (finding a vehicle search reasonable pursuant

to a departmental towing policy). Another instance in which seizure is permissible is in connection

with a lawful forfeiture.

            b. Seizure & Forfeiture

        In certain circumstances, the Controlled Substances Act authorizes forfeiture of property.

One who is “convicted of a violation of this subchapter or subchapter II punishable by

imprisonment for more than one year shall forfeit to the United States” any property involved in

the violation or used or intended to be used to facilitate or commit the violation. 21 U.S.C. § 853.

A vehicle may be subject to forfeiture if it is “used, or [is] intended for use, to transport, or in any

manner to facilitate the transportation, sale, receipt, possession, or concealment of [controlled

substances].” 21 U.S.C. § 881(a)(4). Property falling under § 881 “may be seized by the Attorney

General in the manner set forth in section 981(b).” Id. at § 881(b). That section provides, in

pertinent part, that

        a seizure may be made without a warrant if - . . .
        (B) there is probable cause to believe that the property is subject to forfeiture and -
                (i) the seizure is made pursuant to a lawful arrest or search; or
                (ii) another exception to the Fourth Amendment warrant would apply[.]

18 U.S.C.§ 981(b)(2)(B) (emphasis added). Thus, the plain language of the statute requires the

government to show more than only probable cause when seizing property absent a warrant. It is

important to note that the statutory language in 21 U.S.C. § 881(b) cross-referencing 18 U.S.C. §

981(b) was added in 2002, and prior versions of the Controlled Substances Act authorized seizure

without a warrant in any one of four enumerated circumstances, one of which was “the Attorney




                                                   6
      Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 7 of 15




General has probable cause to believe that the property is subject to civil forfeiture under this

subchapter.” 21 U.S.C. § 881(b)(4) (West 1996).1

             c. Probable Cause

        Regardless of the amended § 881(b) language, probable cause to believe the property

would be subject to forfeiture is still a requirement that law enforcement must satisfy when seizing

said property. Accordingly, a brief review of how federal courts interpret probable cause in these

circumstances is appropriate.

        The Fifth Circuit has held that law enforcement lacked probable cause to seize a vehicle

that was parked at a residence, unmoving and unoccupied, when the officers “had plenty of time

to obtain, and did obtain, a warrant to search the house [but] [n]o warrant was obtained for the

seizure of the automobile.” U.S. v. Pruett, 551 F.2d 1365, 1369-70 (5th Cir. 1977). In that case,

law enforcement intercepted a package of cocaine and replaced it with a decoy. Once the

defendant’s wife retrieved it from the post office, they tailed her back to the residence where they

then sought a search warrant for the home. Id. at 1367. The officer waited outside the residence

for “about an hour and twenty minutes” for the search warrant to issue and then he and other agents

executed the warrant. Id. However, as they “were preparing to leave, a decision was made to seize

the vehicle which transported the controlled substance” in the decoy package, and the agent

testified that “the normal procedure for such seizure involved an inventory search.” Id.

        The Fifth Circuit was unconvinced and found the seizure unlawful. Reasoning that it is

“quite clear” that had the seizure “been valid the search would likewise have been valid,” the court




1
 The government relies on United States v. Judge, in which the Fifth Circuit characterized the government’s
showing in such circumstances as requiring only probable cause. 864 F.2d 1144, 1145 (5th Cir. 1989). In Judge, the
defendant was arrested in a restaurant following a sting operation, and, upon his arrest, DEA agents searched his
vehicle, which was parked lawfully inside the restaurant parking lot. However, the case does not provide much
detail on the probable cause analysis.

                                                        7
      Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 8 of 15




concluded that the failure to get a warrant in these circumstances rendered the seizure, and

subsequently the search and its fruits, invalid. Id. at 1369-70. The court found it specifically

relevant that the car was not moving, was unoccupied, parked at the residence, and further, the

officers had the time and foresight to seek, wait for, and obtain a search warrant for the residence.

Id. The court reasoned as follows:

       We are impressed by the fact that as to the automobile there was more than
       ‘probable cause to believe.’ The officers knew for a fact that Mrs. Pruett,
       unwittingly or no, had indeed used the automobile to transport the cocaine from the
       post office to the house. Since they had absolute knowledge, was it necessary that
       they have that knowledge confirmed by an impartial magistrate before effecting
       seizure under nonexigent circumstances? We think that it was.

Id. at 1370. The court distinguished between stopping and seizing a vehicle on the open road and

“‘entering private property to seize and search an unoccupied, parked vehicle not then being used

for any illegal purpose’ and that the officers were legally on the property is ‘immaterial.’” Id.

(quoting Coolidge v. New Hampshire, 403 U.S. 443, 458, 463 (1971)). Under these facts, the Fifth

Circuit held that the seizure violated the Fourth Amendment and that the fruits must be suppressed.

       The vehicle in Pruett was parked at the residence in question. In U.S. v. Edwards, the Tenth

Circuit found law enforcement lacked probable cause to search the defendants’ vehicle located

about “100 to 150 feet from where the police were questioning” them. 632 F.3d 633, 636 (10th

Cir. 2001). This search was done prior to law enforcement’s decision to impound and take the car

into custody. Id. (“After the police searched the car, they decided to impound it so that the Federal

Bureau of Investigation [] could later search it again.”). Based on that fact, as well as the officer’s

testimony that he was searching for evidence, the court found it inescapable to conclude that this

was a search “conducted for investigative rather than administrative purposes.” Id.

       In another case involving a vehicle parked far away, United States v. Rogers, the police

searched the defendant’s truck which was parked over 200 yards away at a different property


                                                  8
      Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 9 of 15




owned by a different individual and in no way encompassed by their search warrant for the

defendant’s property. 2013 WL 435946, at *2-4 (N.D. Miss. Feb. 4, 2013). The court found it

particularly relevant that at the evidentiary hearing, law enforcement claimed that they called the

judge who issued the warrant to permit an expansion of the warrant’s named premises, yet “made

no effort whatsoever to document the alleged telephone call, and the issuing judge, according of

the officers and representations by the Assistant United States Attorney, had absolutely no

recollection of having received such call.” Id. at *4. Accordingly, the court found no probable

cause existed to seize the vehicle and granted the defendant’s motion to suppress the items found

within it. Id. at *7.

    IV.      DISCUSSION

          In the present case, the government alleges that law enforcement had probable cause to

believe Johnson’s vehicle was used to transport or facilitate the sale of controlled substances based

on their surveillance that morning where they observed him arriving, leaving, then returning

shortly after the USPS package was delivered to Bourgeois’s apartment. They argue the vehicle

was thus subject to forfeiture under 21 U.S.C. § 881(a)(4) and that the search was conducted

pursuant to DEA policy on inventory searches once it was seized.

          While the Court is satisfied that the DEA followed a valid policy on inventory searches, it

is not persuaded that the search in this case falls within the inventory search exception to the

warrant requirement. The critical issue here is whether the vehicle was properly taken into custody

in the first place. To be seized pursuant to the Controlled Substances Act’s forfeiture provisions,

if there is no warrant, the government must show (1) probable cause to believe the property would

be subject to forfeiture, in this case, that the vehicle in question was used to transport narcotics,

and (2) that either the seizure was done pursuant to a lawful arrest or search, or that a warrant



                                                   9
     Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 10 of 15




exception applied. See 18 U.S.C.§ 981(b)(2)(B). The Court understands the language that the

seizure be done “pursuant to a lawful search or arrest,” as used in § 981(b)(2)(B)(i), to implicate

the community caretaking function, such as when an individual is lawfully arrested upon being

pulled over and the vehicle must be taken into custody for community caretaking purposes. The

government has argued only probable cause.

       A. Suppression Hearing

       At the suppression hearing held before this Court on December 7, 2023, the Court heard

testimony from one of the Drug Enforcement Agency (“DEA”) agents, Agent Picone, who

executed the search warrants of Bourgeois’s residence and then subsequently obtained a warrant

to search the cooler and Bourgeois’s truck. He testified that agents from at least three law

enforcement agencies were present and assisting in the execution of the search warrant of the

apartment: New Orleans Police Department (“NOPD”); Louisiana State Police (“LSP”); and DEA.

He testified that DEA was assisting in the execution of the warrant and arrived at the scene

sometime in the morning of April 22, 2021. Other law enforcement agents were already on the

scene, and Agent Picone described that there was no one specific place everybody gathered but

that they were scattered throughout the area surveilling and waiting for a safe time to execute the

warrant to search the apartment. At this time, the only search warrant was for Bourgeois’s

apartment and curtilage.

       Agent Picone described that he watched Johnson arrive, enter the apartment, then leave

shortly after in his Mercedes, at which point Agent Picone attempted to tail Johnson. He described

that DEA had been investigating Johnson as a drug dealer but had not yet pinpointed an address

for him, and by tailing him he hoped to learn that information. When asked about the Mercedes,

Agent Picone testified that DEA was aware Johnson may have a Mercedes and/or a Range Rover



                                                10
     Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 11 of 15




but had not seen the car before that morning. He told the Court he was unsuccessful in tailing

Johnson and once he lost him, he returned to Bourgeois’s apartment to assist with the search

warrant.

       While he was surveilling the apartment again, Agent Picone testified that he witnessed a

USPS package arrive, Bourgeois brought it inside, and then “not long” after, Johnson returned.

The agent testified that an unidentified law enforcement officer radioed that the Mercedes had

returned, and shortly after he witnessed Johnson approach the apartment on foot and enter. The

agent testified that he believed Johnson was tracking the USPS package and that was why he

returned to the apartment so shortly after its arrival. He testified his belief was confirmed by

evidence subsequently obtained from a lawful warrant of Johnson’s cell phone, which contained a

tracking receipt for the package. Importantly, that warrant was not obtained until days later, and,

as revealed in cross examination, law enforcement did not know on the morning of the arrest that

Johnson was tracking this package.

       Agent Picone described that law enforcement waited until Bourgeois and Johnson exited

the apartment to execute the search warrant on Bourgeois’s apartment because it was safer. He

testified that Johnson came out of the apartment first with Bourgeois behind him, and that Johnson

was walking in the direction of his parked car when he was apprehended. The apartment in

question is on the second story of a house and is accessible via an outdoor metal staircase that is

visible from the sidewalk. The stairway runs parallel to the sidewalk with its bottommost stair in

the direction of Johnson’s parked car and its topmost stair in the opposite direction.

       Agent Picone testified that Johnson had already descended the stairs and was heading

toward his car when law enforcement apprehended and arrested him and Bourgeois. Upon

apprehension, Johnson was told to wait somewhere in the shade under an awning nearby, under



                                                 11
     Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 12 of 15




law enforcement supervision, while the apartment was searched in accordance with the

apartment’s search warrant. Because Johnson was arrested holding a Styrofoam cooler, law

enforcement then sought another warrant for the cooler. Agent Picone testified that they had to

wait approximately an hour for the warrant to be drawn up and approved. He also testified that

they obtained a separate warrant to search Bourgeois’s truck, however it is unclear whether that

truck was searched pursuant to the original warrant which included curtilage. The facts are

undisputed however that law enforcement sought and obtained at least a second warrant for the

cooler while they were at the scene of the arrest and that they and Johnson and Bourgeois waited

at the scene for that warrant to issue before searching the cooler. No warrant however was

requested nor received to search Johnson’s car.

       Law enforcement searched Bourgeois’s truck but did not seize it pursuant to forfeiture.

Both men were ultimately taken into custody and Agent Picone testified that, pursuant to DEA

policy, law enforcement seized the Mercedes and entered the vehicle in order to drive it back to

DEA headquarters. He also testified that it is not unusual for a law enforcement officer to drive a

seized vehicle in order to get it to headquarters. It was upon entering the vehicle that law

enforcement saw the firearm in plain view. He acknowledged that the Mercedes was parked

approximately two blocks away and was not within eyesight of any of the parties at the time of the

arrest. It was legally parked and was not in the way of oncoming traffic.

       When asked by the Court why the DEA did not seize Bourgeois’s truck, the agent testified

that it was an old truck and probably was not worth much. When the Court asked why the DEA

was monitoring Johnson and what it knew of him prior to that morning, the agent testified that

Johnson was a “big fish,” a suspected drug dealer, and they had been tracking him for some time

with limited success. It was at this point the agent mentioned that they were aware that Johnson



                                                  12
     Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 13 of 15




possibly drove a Mercedes or Range Rover, but that they had not identified the vehicle prior to

that morning.

         B. Analysis

         Three law enforcement agencies executed at least two lawful search warrants on April 22,

2021, first the apartment and then, upon the issuance of a second warrant requested from the scene,

the cooler. They waited for over an hour for the cooler warrant to arrive. There clearly was enough

time to get a warrant to search Johnson’s car. They got one or maybe already had one to search

Bourgeois’s truck. The Court concludes that they simply forgot to get a warrant and when they

went to the car and found the gun in clear sight, they then decided to seize the vehicle and conduct

an inventory search. The Court is not persuaded that the Mercedes was lawfully seized. The statute

requires more than just probable cause, and the government fails to allege more. That said, the

Court also finds that probable cause was lacking in this instance and decides this Motion on that

basis.

         Johnson’s car was parked twice as far from the scene of his arrest as the vehicle was in

Edwards. See 632 F.3d at 636. Johnson was arrested just outside of an apartment at the bottom of

a staircase whose directional orientation happened to spit him out on the sidewalk in the direction

of his parked car, which was not in eyeshot and was still several blocks away. The government has

failed to show by a preponderance of the evidence that Johnson was on his way to his vehicle at

the time of his arrest, as opposed to heading to a different destination in that direction, or even

simply exiting the apartment and stepping aside to let Bourgeois, walking behind him, also clear

the stairway. Law enforcement did not know he was tracking the package on his cell phone until

days later when they obtained a warrant for his phone and found the tracking receipt.




                                                13
     Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 14 of 15




        Further, under Pruett, the Fifth Circuit has found it unreasonable to seize a vehicle when

law enforcement (1) had reason to believe it was used to transport narcotics, (2) the car is

unoccupied, unmoving, and legally parked, and (3) the officers had the time and foresight to obtain

warrants but simply did not do so. In Pruett specifically the officers watched Mrs. Pruett drive the

package in the vehicle. The Circuit still felt that permitting this seizure under the ruse of forfeiture

untenable.

        Here, law enforcement had never witnessed the Mercedes transport narcotics, it was parked

legally a couple of blocks away, and it was unmoving, unoccupied, and legally parked. Law

enforcement had the foresight to call for a second warrant for the cooler Johnson was carrying

while arrested and had the time to wait for this warrant to be issued, but they did not seek a warrant

for Johnson’s car. The agent testified at the suppression hearing that Johnson was a big fish, they

had been investigating him for some time, and they had heard he drove a Mercedes and/or a Range

Rover. They saw him arrive at the apartment earlier that morning in the Mercedes, and then tailed

him in the car. The Court cannot help but wonder why law enforcement did not seek a warrant for

his car under these circumstances.

        Based on the briefings, the evidence adduced at the suppression hearing, and the applicable

law, the Court cannot reasonably conclude that this was a valid seizure and therefore the inventory

search exception to the warrant requirement does not apply. Sometimes, too many cooks in the

kitchen leads to small oversights, such as the request for a warrant for one item but not another.

That does not permit a post hoc finding of probable cause when none existed at the time of the

arrest. There was no probable cause to find that the vehicle was used to transport narcotics and

therefore subject to forfeiture. Law enforcement could have obtained another warrant for the car,




                                                  14
     Case 2:22-cr-00096-EEF-JVM Document 112 Filed 12/18/23 Page 15 of 15




as they did the cooler, but they did not. The fruits of such seizure, in this instance the firearm, must

therefore be suppressed.

       For the foregoing reasons, the Court GRANTS Defendant Gregory Johnson’s Motion to

Suppress.



       New Orleans, Louisiana, this 18th day of December, 2023.




                                                                 United States District Judge




                                                  15
